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Fill in this information to identify your case:

United States Bankruptcy Court for the:

     DISTRICT OF DELAWARE
Case number (if known)                                                          Chapter 15
                                                                                                                                  Check if this an amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                  12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).


1.    Debtor's name                Rokstad Holdings Corporation

2.    Debtor's unique identifier     For non-individual debtors:
                                          Federal Employer Identification Number
                                          Other BC1167932. Describe identifier Incorporation number.
                                     For individual debtors
                                          Social Security Number:
                                          Individual Taxpayer Identification Number (ITIN):
                                          Other ___. Describe identifier ___.



3.    Name of foreign              FTI Consulting Canada Inc., in its capacity as the Court-appointed Receiver of Rokstad
      representative(s)            Holdings Corporation, et al.

4.    Foreign proceeding in
      which appointment of the
      foreign representative(s)
                                Supreme Court of British Columbia in Bankruptcy and Insolvency. Vancouver Registry,
      occurred                  Action No. B-240477

5.    Nature of the foreign          Check one:
      proceeding
                                          Foreign main proceeding
                                          Foreign nonmain proceeding
                                          Foreign main proceeding, or in the alternative foreign nonmain proceeding



6.    Evidence of the foreign           A certified copy, translated into English, of the decision commencing the foreign proceeding and appointing the foreign
      proceeding                     representative is attached.
                                        A certificate, translated into English, from the foreign court, affirming the existence of the foreign proceeding and of the
                                     appointment of the foreign representative, is attached.
                                        Other evidence of the existence of the foreign proceeding and of the appointment of the foreign representative is
                                     described below, and relevant documentation, translated into English, is attached.




7.    Is this the only foreign          No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the debtor is
      proceeding with respect        pending).
      to the debtor known to
      the foreign                         Yes
      representative(s)?




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8.   Others entitled to notice      Attach a list containing the names and addresses of:
                                    (i) all persons or bodies authorized to administer foreign proceedings of the debtor,
                                    (ii) all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this petition, and
                                    (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.



9.   Addresses                   Country where the debtor has the center of its main                       Debtor's registered office:
                                 interests:

                                                                                                           1000-595 Burrard Street
                                 Canada                                                                    Vancouver, British Columbia V7X 1S8
                                                                                                           P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code

                                                                                                           Canada
                                                                                                           Country


                                 Individual debtor's habitual residence:                                   Address of foreign representative(s):

                                                                                                           70 West Georgia Street
                                                                                                           Vancouver, BC V7Y 1G5
                                 P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code   P.O. Box, Number, Street, City, State/Province/Region & ZIP/Postal Code


                                                                                                           Canada
                                 Country                                                                   Country




10. Debtor's website (URL)       https:www.rokstadpower.com


11. Type of debtor               Check one:
                                      Non-individual (check one):

                                                 Corporation. Attach a corporate ownership statement containing the information described in Fed. R. Bankr. P.
                                              7007.1.
                                                   Partnership

                                                   Other. Specify:

                                      Individual




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12. Why is the venue proper     Check one:
    in this district?
                                      Debtor's principal place of business or principal assets in the United States are in this district.
                                      Debtor does not have a place of business or assets in the United States, but the following action or proceeding in a
                                      federal or state court is pending against the debtor in this district.


                                      If neither box is checked, venue is consistent with the interests of justice and the convenience of the parties, having
                                      regard to the relief sought by the foreign representative, because:




13. Signature of foreign        I request relief in accordance with the chapter 15 of title 11, United States Code.
    representative(s)
                                I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the relief sought in this petition, and
                                I am authorized to file this petition.

                                I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                I declare under penalty of perjury that the foregoing is true and correct,

                                                                                                         Thomas Powell
                                                                                                         solely in his capacity as Senior Managing Director of
                                                                                                         FTI Consulting Canada Inc., in its capacity as
                            X     /s/ Thomas Powell                                                      Receiver and Authorized Foreign Representative
                                Signature of foreign representative                                      Printed name

                                Executed on      11/21/2024
                                                 MM / DD / YYYY


                            X
                                Signature of foreign representative                                      Printed name

                                Executed on
                                                 MM / DD / YYYY



14. Signature of attorney   X        /s/ Steven W. Golden                                                 Date       11/21/2024
                                Signature of Attorney for foreign representative                                 MM / DD / YYYY

                                Steven W. Golden
                                Printed name

                                Pachulski Stang Ziehl & Jones LLP
                                Firm name

                                919 N. Market Street, 17th Floor
                                Wilmington, DE 19801
                                Number, Street, City, State & ZIP Code


                                302.652.4100                                                       sgolden@pszjlaw.com
                                Contact phone                                                      Email address

                                6807 DE
                                Bar number and State




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